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 8
                                 IN THE UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-0176-TLN
12                                                       and
                                  Plaintiff,             CASE NO. 1:15-cr-00242-LJO
13
                            v.                           NOTICE OF RELATED CASE
14                                                       ORDER
     BOONE B. KHOONSRIVONG,
15   THONGCHONE VONGDENG,
     DAISY SYSENGRAT,
16   VUTHIYA TIM,
     MEGAN PARADIS,
17   SEQUOIA VALVERDE,
     AMBER COLLINS,
18   SOMALY SIV, and
     JAFFREY BROWN,
19
                                  Defendants.
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21
                                                      ORDER
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23           For the reasons set forth in the Notice of Related Cases filed by counsel for the plaintiff United
24   States of America, the Court finds that Criminal Case No. 1:15-cr-00242-LJO, is related to the above
25   captioned matter within the meaning of Local Rule 83-123.
26           Based upon this finding,

27   IT IS HEREBY ORDERED that:

28
      ORDER                                              1

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             Case 2:15-cr-00176-TLN Document 52 Filed 11/10/15 Page 2 of 2


 1         The Clerk of the Court shall REASSIGN Case No. 1:15-cr-00242-LJO to the Honorable TROY

 2   L. NUNLEY.

 3   Dated: November 9, 2015

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 6                                                               Troy L. Nunley
                                                                 United States District Judge
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     ORDER                                        2

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